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WEGTERM DISTRICT GER ap:
Pro Se 14 (Rev.12/ 16) Complaint for Violation of Civil Rights (Prisoner)

WHOVIS PH 3B UL nited States District Court

for the
Weskern District of Kentwly
case No BN Y- ON Th - QNG

(to be filled in by the Clerk’s Office)

 

Jason Adkins
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
Please write, “see attached” in the space and attach an additional
Page with the full list of names.)
v.

Luther Luckett Correctional Complex (“See Attached”)
Defendant(s)
(Write the full name of each defendant who is being sued. If the
Names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns
resulting from public access to electronic court files. Under this rule, papers filed
with the court should not contain an individual's full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial
account number. A filing may include only: the last four digits of a social security
number; the year of an individual’s birth; a minor’s initials; and the last four digits
of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance
or witness statements, or any other materials to the Clerk’s Office with this
complaint.

In order for your complaint to be filed, it must be accompanied by filing fee or an
application to proceed in forma pauperis.

 

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I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint.
Attach additional pages if needed.

Name Jason Adkins
All others names by which
You have been known:

 

ID Number # 258638
Current Institution Luther Luckett Correctional Complex
Address 1612 Dawkins Road / P.O. Box 6

City La Grange State Kentucky Zip Code 40031

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,

Whether the defendant named is an individual, a government agency, an organization, or a
corporation. Make sure that the defendant(s) listed below are identical to those contained in
the above caption. For an individual defendant, include the person’s job or title (if known)
and check whether you are bringing this complaint against them in their individual
capacity or official capacity, or both. Attach additional pages if needed.
Defendant No.1

Name Scott Jordan Warden

Job or Title (if known) _ Warden

Shield Number

Employer Luther Luckett Correctional Complex

Address _ 1612 Dawkins Road

City LaGrange State Kentucky Zip Code 40031

Individual Capacity And Official Capacity

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Pr 1 12/1 laint f iolation of Civil Ri isoner

Defendant No.2
Name Luther Luckett Correctional Complex

Job or Title (if known)

 

Shield Number

 

Employer

 

Address _ 1612 Dawkins Road
City LaGrange State Kentucky Zip Code 40031

[ x | Individual Capacity And [ x | Official Capacity

Defendant No.3
Name Kevin Drake
Job or Title (if known) __ Captain

Shield Number

 

Employer _ Luther Luckett Correctional Complex
Address 1612 Dawkins Road
City _ LaGrange State_Kentucky Zip Code 40031

Individual Capacity And Official Capacity

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Defendant No.4
Name Jermey Smith
Job or Title (if known) _ Sargent

Shield Number

 

Employer __ Luther Luckett Correctional Complex
Address 1612 Dawkins Road

City _LaGrange State_Kentucky Zip Code _40031

 

Individual Capacity And Official Capacity

Pr 1 int f i i ivil Ri
II. Basis for Jurisdiction

Under 42 U.S.C. 42 USCS § 1983, you may sue state or local officials for the “deprivation of
any rights, privileges, or immunities secured by the Constitution and[ federal laws].” Under
Bivens v. Six Unknown named Agents of federal Bureau of Narcotics, 403 U.S. 388 (1971),
you may sue federal officials for the violation of certain constitutional rights.

A. Are you bringing suit against (check all that apply):

[| Federal officials (a Bivens claim)

[x | State or local officials (a § 1983 claim)
B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are

suing under section 1983, what federal constitutional or statutory right(s) do you claim
is/are being violated by state or local officials?

 

C. Plaintiffs suing under Bivens may only recover for the violation of certain
constitutional rights. If you are suing under Bivens, What constitutional right(s) do you
claim is/are being violated by federal officials?

 

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D. Section 1983 allows defendants to be found liable only when they have acted
“under color of any statue, ordinance, regulation, custom, or usage, of any State or Territory
or the District of Columbia.”42 U.S.C. § 1983. If you are under section 1983, explain
how each defendant acted under color of state or local law. If you are suing under
Bivens, explain how each defendant acted under color of federal law. Attach
additional pages if needed.

 

 

Ill. Prisoner Status

Indicated whether you are a prisoner or other confined person as follows (check all that apply):

[ Pretrial detainee

[| Civilly committed detainee

[| Immigration detainee

Convicted and sentenced state prisoner
[ Convicted and sentenced federal prisoner

[| Other (explain)

IV. Statement of Claim

 

State as briefly as possible the facts of your case. Describe how each defendant was
personally involved in the alleged wrongful action, along with the dates and locations of all
relevant events. You may wish to include further details such as the names of other persons
involved in the events giving rise to your claims. Do not cite any cases or statues. If more
than one claim is asserted, number each claim and write a short and plain statement of
each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution,
describe where and when they arose.

 

B. If the events giving rise to your claim arose in an institution, describe
where and when they arose.

while I was being housed in Luther Luckett Correctional Complex ‘s segregation unit where
Iam incarcerated I was attacked by an inmate, prison officials moved into my cell.

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C. What date and approximate time did the events giving rise to your
claim(s) occur?
This incident occurred on November 24" 2017 at 3:30am.

 

D. What are the facts underlying your claim(s)? ( for example: What
happened to you? Who did what? Was anyone else involved? Who else saw what
happened?)

While I was in my cell on the night in question, an inmate by the name of Antonio
Politi #000116 attacked me in my sleep, no one else saw incident due to the fact that
there is no camera’s in the cells in the segregation unit.

 

 

 

V. Injuries

If you sustained injuries related to the events alleged above, describe your
injuries and state what medical treatment, if any, you required and did or did not
receive.

I sustained multiple facial fractures and lacerations around my left eye and upper left lip. As a result of
this violent attack I also suffered a fractured eye socket, and a broken nose.
(See full attached medical report )

VI. Relief

State briefly, what you want the court to do for you. Make no legal arguments. Do not cite any cases or
statues. If requesting money damages, include the amounts of any actual damages and/or punitive damages
claimed for the acts alleged. Explain the basis for these claims.

I am respectfully requesting this Honorable Court to order the Luther Luckett Correctional to pay in the sum of
$ 2, 500,000 for the misconduct of their officers which led to me being_brutally attacked. This request is being
made due to all of the physical, mental, and emotional anguish which has also led to me having nightmares. I am
also requesting this Honorable Court to order the Luther Luckett Correctional Complex’s medical department to set
an appointment with the Kentucky Lions Eye Clinic per the recommendations of the University of Louisville
Hospital’s medical report for an eye exam in which to determine the best alternative to correct the vision in my left
eye, this due to the fact that I see double at a far distance.

 

VIL. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C § 1997e(a), requires that “[njo
action shall be brought with respect to prison conditions under section 1983 of
this title, or any other Federal law, by a prisoner confined in any jail, prison, or
other correctional facility until such administrative remedies as are available are
exhausted.”

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Administrative remedies are also known as grievance procedures. Your case may
be dismissed if you have not exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other
correctional facility?

Yes
[__] No

If yes, name the jail, prison, or other correctional facility where you were
confined at the time of the events giving rise to your claim(s).

Luther Luckett Correctional Complex

 

 

B. Does the jail, prison, or other correctional facility where your claim(s)
arose have a grievance procedure?

Yes
[_]|No
[| Do not know

Cc. Does the grievance procedure at the jail, prison, or other correctional
facility where your claim(s) arose cover some or all of your claims?

Yes
[__]No

[| Do not know

If yes, which claim(s)?

 

D. Did you file a grievance in the jail, prison, or other correctional facility
where your claim(s) arose concerning the facts relating to this complaint?

Yes
No

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If no, did you file a grievance about the events describe in this complaint at
any other jail, prison, or other correctional facility?

[| Yes
[__]No

K. If you did file a grievance:

1. Where did you file the grievance? Luther Luckett Correctional Complex

 

 

oner)

2. What did you claim in your grievance?

I claimed in my grievance that on November 11'" 2017, I was placed in the Restrictive Housing
Unit (RHU) with another inmate unrelated to the incident I am claiming, and that on November 22™ 2017
correctional staff moved an inmate named Antonio Politi # 000116 in my cell. On November 23" 2017
While Mr. Politi was in the shower I handed a hand written note to correctional officer Trevor
Mccullough to give to the shift supervisor to inform him that I wanted to be moved because I did not felt
unsafe in the cell with Mr. Politi. I also verbally told correctional officer Brian Owens to put me on
suicide watch if they had to get me moved. I then told correctional officer Stone to please move me. CO.
Stone and C.O. Owens said they would talk to the Sargent, but they never came back. At approx. 3:30am
on November 24" 2017, I woke up bleeding from my face and ear; I then hit the door yelling for help.
Further, I raised in my grievance that I wanted all of this documented and that I wanted a reasonable
explanation as to why I failed to be protected when I told the C.O.’s I was scared and wanted to go on
suicide watch.

 

3. What was the result, if any? In the informal resolution stage of the grievance Capt.
Drake stated he spoke with all staff and at which time was it verbalized that inmate
Adkins was in fear. The informal resolution further states that a note was passed and only
stated “this guy is creepy,” and that all staff responded ethically and professionally.

 

4. What steps, if any, did you take to appeal that decision? Is the grievance
process completed? If not, explain why not. (Describe all efforts to appeal to the
highest level of the grievance process.) There is a two (2) step process in Appealing
grievances. The first step is to Appeal to the warden, and step two is to the commissioner,
these steps have exhausted all of my administrative remedies, (see all attached responses).

 

F. If you did not file a grievance:
1. If there are any reasons why you did not file a grievance, state them here:

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2. If you did not file a grievance but you did inform officials of you claim, state who you
informed, when and how, and their response, if any:

G. Please set forth any additional information that is relevant to the exhaustion of your
administrative remedies. (see attached)

 

(Note: You may attach as exhibits to this complaint any documents related to the
exhaustion of your administrative remedies.)

   

Pro Se 14 (Rev. 12/16) Complaint for violations of

VIII. Previous Lawsuits

The “ three strikes rule” bars a prisoner from bringing a civil action or an
appeal in federal court without paying the filing fee if that prisoner has “on three
or more prior occasions, while incarcerated or detained in any facility, brought
an action or appeal in a court of the United States that was dismissed on the
grounds that it is frivolous, malicious, or fails to state a claim upon which relief

may be granted, unless the prisoner is under imminent danger of serious physical
injury.” 28 U.S.C. § 191(g)

To the best of your knowledge, have you had a case dismissed based on this
“three strikes rule”?

[] Yes
No

If yes, state which court dismissed your case, when this occurred, and attach a
copy of the order if possible.

 

A. Have you filed other lawsuits in state or federal court dealing with the same
facts involved in this action?

[| Yes
No
B. If your answer to A is yes, describe each lawsuit by answering questions 1

through 7 below. (If there is more than one lawsuit, describe the additional
lawsuits on another page, using the same format.)

Page 9 of 14
 

1. Parties to the previous lawsuit

Plaintiff(s)

 

Defendant(s)

 

 

2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?
[| Yes
[_]No

If no, give the approximate date of disposition.

 

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7. What was the result of the case? (For example: Was the case dismissed? Was judgment
entered in your favor? Was the case appealed?)

 

C. Have you filed other lawsuits in state or federal court otherwise relating to the
conditions of your imprisonment?

[| Yes
No

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D. If your answer to C is yes, describe each lawsuit by answering questions! through 7
below. (f there is more than lawsuit, describe the additional lawsuits on another page, using
the same format.

1. Parties to the previous lawsuit

Plaintiff(s)

 

Defendant(s)

 

 

2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

Approximate date of filing lawsuit

ot

 

6. Is the case still pending?

[_]|Yes
[]No

If no, give the approximate date of disposition.

 

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7. What was the result of the case? (For example: Was the case dismissed? Was judgment
entered in your favor? Was the case appealed?)

 

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IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have evidentiary
support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and(4) the complaint
otherwise complies with the requirements of Rule 11.

 

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s office may result in the dismissal of my case.

Date of signing: } | 79-7 [8
Signature of Plaintiff Ga MMA? odleD
Printed Name of Plaintiff Jason Adkins

Prison Identification # _256838

Prison Address Luther Luckett Correctional Complex 1612 Dawkins Road / P.O. Box 6

 

 

La Grange Kentucky 40031
City State Zip Code

B. For Attorneys
Date if signing

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

Address

 

 

 

City State Zip code
Telephone Number
E-mail Address

 

 

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Defendant No.1
Name Scott Jordan Warden
Job or Title (if known) _ Warden
Shield Number
Employer Luther Luckett Correctional Complex
Address __1612 Dawkins Road
City LaGrange State Kentucky Zip Code 40031
[ x | Individual Capacity And Official Capacity
Defendant No.2
Name Luther Luckett Correctional Complex

Job or Title (if known)

 

Shield Number

 

Employer

 

Address _ 1612 Dawkins Road

City LaGrange State Kentuck Zip Code 40031

 

Individual Capacity And [ x | Official Capacity

Defendant No.3
Name Kevin Drake
Job or Title (if known) __ Captain

Shield Number

 

Employer _ Luther Luckett Correctional Complex
Address 1612 Dawkins Road

City _ LaGrange State_Kentucky Zip Code 40031

Individual Capacity And Official Capacity

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Defendant No.4
Name Jermey Smith
Job or Title (if known) _ Sargent

Shield Number

 

Employer __ Luther Luckett Correctional Complex
Address 1612 Dawkins Road

City _LaGrange State_ Kentucky Zip Code _40031

[x | Individual Capacity And Official Capacity

Page 14 of 14
 

 

Jason Adkins 4256538

Luther Luckett OM Complex
(G12 Dawlsné Road /P.C, Boxe

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